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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK
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MAXIM LEVIN and VODKA PROPERTIES, LLC,

              Plaintiffs,
                                                 Civil Action No.: 20-cv-1511
      -vs.-

CITY OF BUFFALO, et al.

            Defendants.
________________________________________

CITY DEFENDANTS’ NOTICE OF MOTION TO ENLARGE TIME TO COMPLETE
      DISCOVERY AND ENLARGE THE CASE MANAGEMENT ORDER

      Upon the annexed Declaration of Robert E. Quinn, dated January 18, 2022,
Defendants, CITY OF BUFFALO, BYRON W. BROWN, JAMES COMERFORD, JR., LOU
PETRUCCI, TRACY KRUG, and KEVIN COYNE (“City Defendants”), by and through
their attorney, Cavette Chambers, Esq., Acting Corporation Counsel for the City of
Buffalo, move this Court pursuant to Rule 16(b)(4) of the Federal Rules of Civil Procedure
for an enlargement of time to complete discovery and to enlarge the existing Case
Management Order in the above captioned matter.


Dated: January 18, 2022
       Buffalo, New York
                                                CAVETTE A. CHAMBERS, ESQ.
                                                Acting Corporation Counsel


                                                /s/Robert E. Quinn
                                                Robert E. Quinn
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